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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )            4:19CR00675-DPM-1
                                                )
JACKSON ROE                                     )


                               JOINT SENTENCING NOTICE

       The United States of America, through Jonathan D. Ross, United States Attorney for the

Eastern District of Arkansas, and Erin O’Leary, Assistant United States Attorney for said district,

and the defendant, Jackson Roe, through his counsel Bill James, for their Joint Report, state as

follows:

       The parties do not plan to call any witnesses.

       The parties estimate that the hearing will take approximately one hour.

       The parties agree that the third point does not apply.

       The parties agree that the safety valve does not apply.

                                                        Respectfully submitted,


                                                        JONATHAN D. ROSS
                                                        United States Attorney

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